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  4
      Attorneys for Creditor Complete Industrial Repair, Inc.            CLERK U.S. BANKRUPTCY COURT
  5                                                                      Central District of California
                                                                         BY bakchell DEPUTY CLERK
  6                                UNITED STATE BANKRUPTCY COURT

  7                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
  8

  9
      In re:                                                 Case No. 2:23-bk-13864-DS
 10
      TOBY EDWARD TORRES,                                    Chapter 7
 11
                        Debtor.                              Adv. No. 2:23-ap-01426-DS
 12
      ____________________________________
 13                                                          TRIAL SCHEDULING ORDER
      COMPLETE INDUSTRIAL REPAIR, INC.,
 14                                                          Hearing
                                Plaintiff,                   Date: April 11, 2024
 15            v.                                            Time: 11:30 a.m.
                                                             Place: Courtroom 1639
 16
      TOBY EDWARD TORRES,                                           255 E. Temple St.
 17                                                                 Los Angeles, CA 90015
                                Defendant.                          (via ZoomGov)
 18
 19              The court held a status conference at the above time and place. Appearances were noted

 20   on the record. Based on the comments made by counsel at the hearing and the record in this case,

 21   for the reasons stated on the record at the hearing,

 22              IT IS HEREBY ORDERED as follows:

 23              1.      All discovery must be completed by no later than June 17, 2024. Expert

 24   disclosures must act in accordance with the Federal Rules of Civil Procedure.

 25              2.      All discovery-related motions must be filed by no later than July 1, 2024. Any

 26   motions will be heard on July 26, 2024 at 11:30 a.m.

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  1            3.       A Pre-Trial Conference is scheduled for October 29, 2024 at 1:00 p.m. A pre-trial

  2    order must be filed and served by October 15, 2024.

  3            4.       The trial for the above-captioned adversary case is scheduled to take place from

  4    November 12, 2024 through November 14, 2024, at 10:00 a.m.

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      Date: April 12, 2024
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